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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CRIMINAL NO. 21-cr-670
               v.                             :
                                              :
STEPHEN K. BANNON,                            :
                                              :
                       Defendant.             :

    UNITED STATES’ OPPOSITION TO DEFENDANT’S RENEWED MOTION TO
              CONTINUE TRIAL DUE TO PRETRIAL PUBLICITY

       In his fourth filing within two weeks in pursuit of a continuance, the Defendant renews his

request based on pretrial publicity. But neither of the examples of publicity that the Defendant

cites in his motion bears on this case—the Defendant’s contempt of Congress—nor is it the kind

of sensational, circus-like prejudicial coverage required to find we will be presumptively unable

to seat an impartial jury. As the Court stated on July 11, 2022, the appropriate way to address the

Defendant’s concerns about pretrial publicity is through voir dire.

       The Defendant’s motion identifies two new publicity items. First, the Defendant reports

that during a daytime Committee hearing, a Committee member stated that on January 5, 2021,

the Defendant, a “close adviser” of former President Trump, exchanged at least two phone calls

with the former President, and then the Committee played a clip from the Defendant’s own words

on his podcast on January 5, 2021, stating that “All hell is going to break loose tomorrow” and

associated comments. See ECF No. 108 at 4. Next, the Defendant reports that CNN, a cable news

network, will run an hour-long “special report” on the Defendant on July 17, 2022. Although it is

not clear from the Defendant’s description what exactly the “special report” will entail, it appears

it involves the Defendant’s “master plan to reshape the U.S. government and the Republican Party
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and indeed the United States”—that is, an examination of the Defendant’s role as a political

consultant, not his contempt of Congress case. Id. at 5.

       The Defendant’s dramatic characterizations aside, there is no evidence that either piece of

publicity results in a presumptively prejudiced venire. Although the Defendant claims that it was

the Committee’s narrative, at its hearing, that “Mr. Bannon was an extremist,” that is not what the

Committee members said about the Defendant. And it is unclear whether the Committee’s

hearing—which occurred during the work day and of which the Defendant was not a particular

focus—would have reached members of the jury pool. Indeed, it appears that even the defense

did not watch the hearing in real time, and it is not clear from his pleading how he even learned of

the mention of himself—whether he sought it out or learned about it from some other source. See

ECF No. 108 at 3 (“The defense learned today that the July 12, 2022, televised Committee hearing

did indeed feature Mr. Bannon”). Indeed, Government counsel did not know the Defendant had

been mentioned at the hearing until the Defendant filed his pleading. And the “special report” that

the Defendant’s motion cites does not appear to be related to January 6 or the Committee and is

set to be broadcast on a specialized cable news network. Moreover, the Defendant’s claims about

the “special report” are premised on the assumption that all of the citizens of the District are as

focused on niche political coverage on cable news networks as the Defendant. The Government

expects that this assumption will be proven wrong during voir dire.

       As the Court stated at the hearing on July 11, 2022, voir dire is the proper way to determine

whether prospective jurors are prejudiced by any of coverage they have seen—to the extent they

have seen anything relating to the Defendant—or indeed, whether they even know who the

Defendant is. Several questions in the parties’ jointly prepared voir dire will address these issues.

See, e.g., ECF No. 106-2 at 3 (asking multiple questions related to the Select Committee and




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whether jurors have seen its hearings or read coverage of them, whether jurors have seen or heard

anything about this case, and whether they hold any opinions of the Defendant biasing them). The

Defendant does not explain why such questions are insufficient, and offers no basis for his

extraordinary claims that the Court will have to “engage in individual sequestered voir dire” and

“introduce the existence” of the “special report” to potential jurors. See ECF No. 108 at 7. The

Court should not accept the Defendant’s invitation to introduce the jury pool to extraneous

information about the Defendant that they did not previously know and should conduct voir dire

in the normal course, as planned. The Government anticipates that the Defendant’s concerns are

overblown, but if they are not, voir dire will bear that out. See 7/11 Tr. at 144-145 (“[T]he correct

mechanism at this time for addressing [concerns regarding pretrial publicity] is through the voir

dire process. It may very well be that, in light of the ongoing Select Committee hearings, that we

will be unable to pick a jury, though I find that unlikely. But should that be the case, the motion

may be renewed again then.”).

       The Defendant’s renewed motion for a continuance should be denied.

                                              Respectfully submitted,

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